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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

THE INDEPENDENCE PROJECT, INC.,                     )
and JOHN MEGGS,                                     )
                                                    )
                       Plaintiffs,                  )
                                                    )
          v.                                        )       Case no. 4:19cv02949 PLC
                                                    )
THE HAMPTON AVENUE                                  )
INVESTMENT GROUP, LLC,                              )
                                                    )
                       Defendant.                   )

                                               ORDER

       This matter is before the Court on the notice of settlement [ECF No. 23], filed by Plaintiffs

with the consent of Defendant. The parties state that they

       have agreed, in principle, to settle th[is] matter[,] . . . are in the process of finalizing
       a settlement agreement[,] and expect to file [a] stipulated dismissal within the next
       sixty days.

Id.

       The record reflects that (1) this case is scheduled for a one-to-two day bench trial beginning

March 8, 2021; (2) the parties are to file today their designation of a neutral and conference date

for Alternative Dispute Resolution (“ADR”) efforts, with ADR scheduled for completion by

October 1, 2020; (4) in the next weeks, there are deadlines for Defendant’s disclosure of and the

depositions of Defendant’s expert witnesses; (5) the deadlines for completion of discovery and the

filing of Daubert and dispositive motions are in October 2020; and (6) no motions are pending.

       After careful consideration,

       IT IS HEREBY ORDERED that Plaintiffs’ notice of settlement [ECF No. 23], with

Defendant’s consent, is GRANTED so that this case is passed for settlement.
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       IT IS FURTHER ORDERED that the trial date and all pending deadlines are

VACATED.

         IT IS FINALLY ORDERED that, due to the parties’ reported settlement of this matter,

counsel shall file, no later than sixty days after the date of this Order a stipulation for dismissal, a

motion for leave to voluntarily dismiss the case, or a consent judgment fully resolving the claims

and causes of action in this lawsuit.




                                                       PATRICIA L. COHEN
                                                       UNITED STATES MAGISTRATE JUDGE

Dated this 31st day of July, 2020




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